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IN THE U.NTIED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN })IVISION
THC)MAS DUNN, eti aln, )
Piaintiffs, §
v. § 04"C~6804
CITY OF CI~IICAGO, § .iudge Gettierrian
Defendatith § Magistrate lodge Schenkier

PLAIN'I'IFFS’ STATUS REPORT REGARDING
IDENTIFICATION OF THE CLASS MEMBERS

Piaintiffs Tliomas Dunn, Deuny Robiris;on7 Veronica lmperial, and Leoiiard Kimble, by
their attorneys, Loevy & Loevy, respectfully Submit this Status report on the progress of
identifying the members of Ciasses i~lll.

Background

Since the Coutt’s June 2, 2006 hearing Plaintit`f`s have received and analyzed two
databases maintained by tire Chic:ago Police Department (“CPD") regarding its arrests and
detentions during the class period: the CRlS database, and the Automated Arr'est database
Together, the databases contain approximately 1.5 million arrests

As the Cour't Wili recali, much of the CRlS data Was created by CPD took-up keepers
inputting select fields from paper arrest records at the time of booking lt is the database that
covers the majority of`the class period (contairiing approximately 13 million arrests),. During the
later portions of`tiie class period, the CPD began using the Autorriated Arrest Systeni, which is an

electronic arrest report The AA data is much more compiete than the CRJS data in that it covers

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ali fields of the arrest report, while CRIS covers only select fields inputted by the lock-tip keeper.
In certain instances, the AA data is also more accurate than the CRIS data. Tliese limitations of
the CRIS database are discussed in greater detail belowq
Discussion

1. The 48-}10!11‘ ciass (Class III)

lo identify the members of the lift-hour class, Piaintiffs used the arrest date and time
associated with each arrest in the two databases and compared this information to the cartier of
the initial court date or the arrestee’s release (Wbere this information was captured). Based on
the data currently available, Piaintift`s have identified approximately 9,400 members of this class
from the two databases.

flie data in the AA database was sufficient to identify what Plaintiffs believe to be ail
class members whose arrests are covered by the AA database However, there were two
deficiencies with the CR}S database that made it insufficient to identify all of the class members
whose arrests are covered by the database

First, as Plaintiffs explained in their previous status report, there was a practice among
sonie lock-up keepers when entering the arrest report data to input the date and tiine when the
arrestee arrived in lock-tip rather than the earlier actual date and time of arrest For exaniple,
.Iosepli Lopez Was arrested on July 20, 2001 and held by the CPD fora total of five daysl He
spent the first two days in an interrogation rooin before being brought to the iock~iip to be
booked on Juiy 122n Wbite l\/h"o Lopez’ paper arrest record accurately reflects this iiiforniation, his
CRIS record shows an arrest on .Iuly 22 at about the time he was booked ln other words, l\/I.rn

Lopez’ detention as reflected in CRiS is two days too siiort.

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The same problem is potentially present, at least to some degree, for each of the
approximater i.,3 million records in the CRlS database Plaintii`fs had initially proposed to
address the arrest data entry problem by obtaining from Chicago and inputting all paper arrest
records where CRlS showed an arrest time less than one hour before the booking time (on the
assumption that these were niost likely to be the result ot lock»up keeper entering the wrong arrest
tirne)r I-Iowever, CR]S data revealed that there were well over 300,000 such records

Accordingly, Plaintiffs retained a statistician and to analyze the problems with the arrest
data l-le determined that a random sample of 3,000 paper arrest reports should be sufficient to
draw conclusions'about how many additional class members would likely be identified Were
Plaintil`fs to obtain (and Chicago to produce) the paper arrest records covered by CRlSn Plaintiffs
sought this opinion so that the Court may consider it in deciding whether these additional class
members may be “identitied throuin reasonable effort” as is required for individualized notice
under Fedn R\ Civ. P. .'Z_?¢(c)(.?,)(l?»)q Plainti‘l'fs are still awaiting Cliicago’s production of the 3,000
paper records The statistician will be able to complete his report shortly alter that production

The second problem with the CRIS data is that almost 600,000 of the records contained no
data regarding either the initial court date or the bond date. (_Normally this information is
contained iii the paper arrest recor'd, and it is unclear why the CRlS data included lt for only
approximately ballot its entries.\) That data is needed to determine the time of release from
custody for these arrestees and thus the 423-hour calculationl The 3,000 record random sample will
also allow the statistician to opine on the likely number ofadditional class members who would be

included based on the time of the initial court date or the bond date.

 

' Nevertheless, Plaintiffs were able to identify an additional 750 class members within
this 600,000 using the elapsed time between arrest and booking Because booking precedes
release, and because these 750 persons were not booked until more than 48 hours alter arrest, it
was possible to include thein as class members even without the bond and initial court data.

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2. The Interrogation Room Class (Class I)

l}sing the data currently available, Plaintiffs have identified approximately l5,000
members of the interrogation room class from the two databases. For the AA database, Plaintiffs
are still awaiting production of a set of additional fields which Chieago has promised but which
are overdue.. Once those fields are received, Plaintii"fs will be able to complete their
identification of the class members in the AA database, and they anticipate that this will include
all class members whose arrests are covered by the AA database

llowever, there were, again, two deficiencies with the CRJS database that made it
insufficient to identify all ofthe class members whose arrests are covered by that database First,
as explained above, the arrest date and time was sometimes inputted incorrectly by the locl<~up
keepern Where present, this error affects the calculation for the length of the interrogation room
detentions in the nsame manner as it affects the till-hour calculation Second, while the AA
database contains a field for movement of an arrestee into and out of locl<-up, ClUS has no such
field Therefore, it is useless for identifying those class members who may have been held in an
interrogation room following booking (as opposed to between arrest and boolcing). Both of these
issues will be addressed by the statistician’s report discussed above, in that it will provide
information about the likely results for how many additional'class members would be identi;l'ied
were Plaintiffs to obtain the paper arrest records covered by CRlS.\

30 Tlle Overnight Class (Class II)

Plaintiffs have currently identified approximately 51,000 members of the overnight class

from the two databases and are still in the process of identifying some of the class members from

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the CRIS database2 Plaintiffs believe that each of the two databases contains sufficient
information to identify all of the class members whose arrests are covered by that database

4. Updating the class period

Plaintiffs anticipate bringing a motion to update the definition of the three classes to
include persons whose arrests have occurred since the Court’S Or'der certifying classes ll & ill on

October 5, 2005 and Order certifying Class l on lane 2, .2006“

RE.SPECTFULLY SUBMITTED,

/s/ l\/iichael Kanovitz
One of Counsel for Plaintiffs

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CERTIFICATE OF SERVICE

I, Michael Kanovitz, an attorney, certify that on August lO, 2006, l sent by
electronic means a copy of the attached lviotion to all counsel of record

/s/ l\/lichael Kanovitz

 

3 Plaintiffs were able to use the automatically-generated “booking posted” field to
determine when an arrestee arrived in lock~up, thereby avoiding the problems associated with the
inaccurate input of the arrest date and time.

